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                                                                                             United States Bankruptcy Court
                                                                                                 Southern District of Texas

                                                                                                    ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                      March 05, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                     Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    ALEXANDER E. JONES,                                         ) Case No. 22-33553 (CML)
                                                                )
                           Debtor.                              )
                                                                )

                      SECOND AMENDED AGREED SCHEDULING ORDER
                             FOR CONFIRMATION HEARING

             WHEREAS, Debtor Alexander E. Jones (“Jones”), the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Jones Case”),

the Texas Plaintiffs,1 and the Connecticut Plaintiffs2 (collectively, the “Parties”) have met and

conferred regarding the scheduling of dates relevant to a confirmation hearing to commence on

[Tuesday, May 21], 2024 (the “Confirmation Hearing”) and have agreed to further amend the

Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 595] to allow for

continued discussions among the Parties;

             WHEREAS, the Court has considered the proposed schedule in connection with the

Confirmation Hearing;

             IT IS HEREBY ORDERED THAT:

             1.    The following dates and deadlines shall govern confirmation of any plans filed in

the Jones Case, including discovery and the conduct of the Confirmation Hearing:




1
  The Texas Plaintiffs comprise Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
Fontaine.
2
  The Connecticut Plaintiffs comprise David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,
William Aldenberg, William Sherlach, and Robert Parker.
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                      Event                                               Date
Plan Filing Date. The date by which any
Party or other party in interest must file a plan       Friday, December 15, 2023
(each, a “Plan”).
Jones Disclosure Statement Filing Date.
The date by which Jones must file his
                                                        Friday, December 22, 2023
disclosure statement in support of any Plan he
has proposed.
Committee Disclosure Statement Filing
Date. The date by which the Committee, the
Texas Plaintiffs and the Connecticut Plaintiffs
                                                        Friday, January 5, 2024
and any other party in interest proposing a
Plan must file its disclosure statement in
support thereof.
Written Discovery Deadline. The deadline
by which the Parties and any other parties in
interest shall serve discovery relating to any
Plans, potential objections thereto, and any
other matters to be heard at the Confirmation
Hearing (the “Requests”). The Parties and
other parties in interest may—and are
encouraged to—serve Requests sooner. The
Parties and any other parties in interest shall
                                                        Tuesday, January 9, 2024
serve responses and objections to any
Requests within two weeks of service of the
Requests. For the avoidance of doubt, the
Parties and any other parties in interest shall
meet and confer in good faith regarding
timing and any requested extension of
response deadline. The Parties also reserve
the right to serve Requests at a later date
based on developments since January 9.
Objections to Provisional Approval of
Disclosure Statements. The date by which
Parties and any other parties in interest shall         Tuesday, January 16, 2024
file any objections to the provisional approval
of any disclosure statements filed.
Disclosure Statement Hearing Date. The
date on which the Parties and any other
parties in interest shall, subject to the Court’s
                                                        Wednesday, January 24, 2024
availability, participate in a hearing regarding
any disclosure statements filed to seek
provisional approval thereof.
Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024


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Privilege Log Deadline. The date by which
the Parties and any other recipients of the
Requests shall have provided logs of
                                                       Tuesday, January 30, 2024
documents responsive to the Requests that
were withheld or redacted on the basis of any
claim or privilege.
Substantial Completion of Document
Production. The date by which the Parties
and any other recipients of the Requests shall
substantially complete the production of
documents in response to the Requests.
Parties and any other recipients of the
Requests must commence production of
                                                       Friday, February 2, 2024
documents in response to Requests as soon
as reasonably possible and shall roll out
document production in tranches, as
available. Parties and any other recipients
of the Requests shall not wait until the
substantial completion deadline to
commence production.
Preliminary Witness Lists. The date by
which the Parties and any other parties in
interest shall exchange lists of witnesses each        Monday, March 25, 2024
such party in good faith expects to call at the
Confirmation Hearing.
Fact Witness Depositions. The dates during
                                                       Wednesday, March 27, 2024 – Wednesday,
which the Parties and any other parties in
                                                       April 3, 2024
interest shall conduct fact witness depositions.
Expert Reports. The date by which the
Parties and any other parties in interest shall
simultaneously exchange expert reports.                Monday, April 8, 2024
Bankruptcy Rule 7026 shall apply in its
entirely to any expert reports exchanged.
Production of Materials Relied Upon in
Expert Reports. The date by which the
Parties and any other parties in interest shall
produce copies of any documents or data that
                                                       Monday, April 8, 2024
were (a) relied on by such party’s expert in
forming the opinions contained in such report
and (b) have not already been produced in
these cases.
Plan Objection Deadline. The date by
                                                       Wednesday, April 10, 2024
which objections to any Plan must be filed.
Rebuttal Expert Report. The date by which
the Parties and any other parties in interest          Tuesday, April 16, 2024
may exchange rebuttal expert reports, if any.


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Production of Materials Relied Upon in
Rebuttal Expert Reports. The date by
which the Parties and any other parties in
interest shall produce copies of any
                                                         Tuesday, April 16, 2024
documents or data that were (a) relied on by
such party’s expert in forming the opinions
contained in rebuttal reports and (b) have not
already been produced in these cases.
Expert Depositions. The dates during which
                                                         [Wednesday, April 17 – Tuesday, April 23,
the Parties and any other parties in interest
                                                         2024]
shall conduct expert witness depositions.
Exchange of Exhibits. The deadline by
which the Parties and any other parties in
                                                         Wednesday, April 24, 2024
interest shall exchange exhibits with each
other.
Exchange of Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest shall serve a final list
of witnesses and exhibits they intend to offer
at the Confirmation Hearing (subject to
supplementation from ongoing expert                      Friday, May 10, 2024
depositions). Witness lists shall identify all
witnesses that each party will call and may
call at the Confirmation Hearing and shall
provide a brief summary of the anticipated
testimony of each witness.
Objections to Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest must serve any                 Tuesday, May 14, 2024
objections to the final witness and exhibit
lists.
Replies to Objections / Briefs in Support of
Confirmation. The date by which the Parties
and any other parties in interest must file their
                                                         Thursday, May 16, 2024
replies to all timely objections to their
respective Plans and submit any briefs in
support of confirmation of any Plan.
Meet and Confer. The date on which the
Parties and any other parties in interest shall
                                                         Friday, May 17, 2024
meet and confer concerning any objections to
witnesses or exhibits.
Final Pretrial Conference. The date on
which the Parties and any other parties in
                                                         [To be set week prior to Confirmation
interest shall, subject to the Court’s
                                                         Hearing]
availability, participate in a final pretrial
conference.


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Filing of Final Witness and Exhibit Lists
with the Clerk of the Court. The deadline
                                                        [To be set two days before of
by which the Parties and any other parties in
                                                        commencement of Confirmation Hearing]
interest shall file final exhibit and witness
lists with the Clerk of the Court.
Confirmation Hearing Dates. The
timeframe in which the Parties and any other
parties in interest shall complete trial. For the       [Tuesday, May 21, 2024 – Wednesday, May
avoidance of doubt, final approval of any               22, 2024]
disclosure statements filed will be sought
during the Confirmation Hearing.

      2.      Service. The Parties and any other parties in interest agree to serve by email on all

  other Parties and any other parties in interest all discovery requests and written responses.

  Parties producing electronically stored information shall simultaneously transmit or make

  available such productions to all Parties that are bound by the Stipulated Confidentiality

  Agreement and Protective Order, dated February 14, 2023 [FSS ECF No. 461; Jones ECF No.

  159].

      3.      Discovery Disputes. The Parties and any other parties in interest shall promptly

  seek Court intervention regarding any disputes that cannot be resolved consensually, which

  disputes shall be heard by the Court on an expedited basis.

      4.      Confirmation Hearing. The Parties and any other parties in interest will meet and

  confer on the details of the Confirmation Hearing, including the sequencing and length of

  witness testimony and the presentation of other evidence.

      5.      Amendments or Modifications. The Court may amend or modify the terms of

  this Order for good cause shown.

      6.      Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

  matters arising from or related to the interpretation of this Order.


           August
           March 05,02, 2019
                     2024



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